           Case 1:21-cv-04678-AJN Document 22 Filed 11/01/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                  11/1/2021


YAMILE ANDREA MONTENEGRO ROMERO,

                                            Plaintiff,                 21-CV-04678 (AJN)(SN)

                          -against-                                  SETTLEMENT CONFERECE
                                                                            ORDER
THE PRUDENTIAL INSURANCE COMPANY
OF AMERICA,

                                            Defendant.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         A settlement conference is scheduled for Tuesday, December 14, 2021, at 10:00 a.m. In

the weeks prior to the conference, the Court will confirm whether the conference will be held

telephonically or in person.

        The parties are directed to review and comply with the Procedures for Cases Referred for

Settlement to Magistrate Judge Sarah Netburn, a copy of which is available on the Court’s

website at https://nysd.uscourts.gov/hon-sarah-netburn. The parties are strongly encouraged to

engage in good-faith settlement negotiations before the settlement conference and preferably

before the submission to the Court of the Ex Parte Settlement Letters and Acknowledgment

Forms, which are to be submitted by Tuesday, December 7, 2021, by e-mail to

Netburn_NYSDChambers@nysd.uscourts.gov. Should the parties resolve the litigation before

the conference date, they must notify the Court in writing immediately.

SO ORDERED.


Dated: November 1, 2021
       New York, New York
